                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION

 IN RE:     JUSTIN BARTHOLOMEW STANFORD                                CASE NO. 21-50042
            MALLORY STANFORD                                           CHAPTER 7
            AKA MALLORY MORGAN
            AKA MALLORY JENE’ MORGAN

                    MOTION FOR RELIEF FROM AUTOMATIC STAY

       The motion of SPECIALIZED LOAN SERVICING LLC ("Movant"), a secured creditor,

respectfully represents:

                                                1.

       The Debtors in the above entitled and numbered case filed a voluntary petition for relief

under the provisions of Chapter 7 of the United States Bankruptcy Code on January 26, 2021.

                                                2.

       This Honorable Court has jurisdiction over this matter pursuant to the provisions of inter

alia 11 U.S.C. 362 and 28 U.S.C. 157 and 1334.

                                                3.

       Movant is the entity entitled to enforce a note in the original principal amount of

$128,250.00, dated June 01, 2016 executed by Justin Bartholomew Stanford, and secured by a

mortgage, recorded at Instrument No. 2016-00019433, in the records of Lafayette Parish,

Louisiana, affecting the following described property located in Lafayette, Louisiana:




       bearing the municipal address of 105 Bon Weir Drive, Lafayette, Louisiana 70506.




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                                                  4.

       Debtor(s) executed a promissory note secured by a mortgage or deed of trust. The

promissory note is either made payable to Creditor, has been duly indorsed, or creditor, directly or

through an agent, has possession of the promissory note and may enforce the promissory note as a

transferee in possession. Creditor is the original mortgagee or beneficiary or the assignee of the

mortgage or deed of trust. If the original promissory note is lost or destroyed, then Creditor will

seek to prove the promissory note using a lost note affidavit.


                                                  5.

       The Debtors are in default on the obligations under the Note and Mortgage to Movant. The

Debtors are delinquent for the months of January 1, 2021 through March 1, 2021 on the direct

monthly mortgage payments of $835.18 each, less unapplied funds of $64.82.

                                                  6.

       The estimated payoff of the subject loan as of February 3, 2021, is $124,383.02, not

including attorney’s fees.


                                                  7.

       The value of the property as reflected by the Debtor’s Schedules, and to which Movant

stipulates for purposes of this motion only, is approximately $135,000.00. After the debtors'

homestead exemption and the costs associated with the selling of said property, there is no equity

in the property for the benefit of unsecured creditors.

                                                  8.

       For the foregoing reasons, Movant requests that the automatic stay in this case be lifted insofar

as the property described in Paragraph (3) hereof is affected thereby.




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       WHEREFORE, MOVANT PRAYS that after all delays have elapsed and proceedings are

had, this Honorable Court enter an order terminating the automatic stay provided for by 11 U.S.C.

362(a) as to the estate of the Debtors so to allow Movant to enforce any and all rights it has in

respect to the property described in Paragraph (3) herein via state court foreclosure proceedings or

otherwise.

       MOVANT FURTHER PRAYS:

       (I)     that Movant be awarded reasonable attorney’s fees and costs in conjunction with

               the filing of this motion.

       (II)    that the fourteen (14) day stay of an order lifting stay as provided in Bankruptcy Rule

               4001(a)(3) be waived and dispensed with;

       (III)   that any order remain in effect regardless of conversion to another Chapter;

       (IV)    that the right to file an amended unsecured claim for any deficiency is reserved;

               that it be permitted to contact Debtor(s) and/or Debtor’s Counsel for the purpose of

               engaging in discussions and consideration of loss mitigation options, solutions and/or

               resolutions including, but not limited to, a loan modification or other loss mitigation

               alternatives.

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                                              /S/ Ashley E. Morris
                                              ATTORNEY FOR MOVANT




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